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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


JEFF SUH, Individually and On Behalf of   Case No.
All Others Similarly Situated,
                                          CLASS ACTION COMPLAINT FOR
                           Plaintiff,     VIOLATIONS OF THE FEDERAL
                                          SECURITIES LAWS
             v.

XL FLEET CORP., THOMAS J. HYNES           JURY TRIAL DEMANDED
III, DIMITRI KAZARINOFF, and
JONATHAN J. LEDECKY,

                           Defendants.
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         Plaintiff Jeff Suh (“Plaintiff”), individually and on behalf of all others similarly situated,

by and through his attorneys, alleges the following upon information and belief, except as to those

allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by XL Fleet Corp.

(“XL Fleet” or the “Company”) with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by XL Fleet; and (c) review of other publicly available information concerning XL

Fleet.

                         NATURE OF THE ACTION AND OVERVIEW

         1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired XL Fleet securities between October 2, 2020 and March 2, 2021, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

         2.       XL Fleet provides vehicle electrification solutions for commercial and municipal

fleets in North America. It offers hybrid and plug-in hybrid electric drive systems.

         3.       XL Fleet formed via merger of XL Hybrids, Inc. (“XL Hybrids”) and Pivotal

Investment Corporation II (“Pivotal”), which closed on or about December 22, 2020 (the

“Merger”). Pivotal was a special purpose acquisition company incorporated for the purpose of

entering into a merger, share exchange, asset acquisition, share purchase, recapitalization,

reorganization or similar business combination with one or more businesses or entities.

         4.       On March 3, 2021, Muddy Waters Research (“Muddy Waters”) published a report

entitled “XL Fleet Corp. (NYSE: XL): More SPAC Trash,” alleging, among other things, that

salespeople “were pressured to inflate their sales pipelines materially in order to mislead XL’s


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board and investors” and that “customer reorder rates are in reality quite low” due to “poor

performance and regulatory issues.” Citing interviews with former employees, the report alleged

that “at least 18 of 33 customers XL featured were inactive.” Muddy Waters also claimed that XL

has “weak technology” and that “XL’s announcement of future class 7-8 upfits seems highly

promotional” because the task is “too technologically complex for XL engineers to deliver on the

promised timeline.”

       5.       On this news, the Company’s share price fell $2.09, or 13%, to close at $13.86 per

share on March 3, 2021, on unusually heavy trading volume. The share price continued to decline

by $2.69, or 19.4%, over two consecutive trading sessions to close at $11.17 per share on March

5, 2021, on unusually heavy trading volume.

       6.       Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that XL

Fleet’s salespeople were pressured to inflate their sales pipelines to boost the Company’s reported

sales and backlog; (2) that at least 18 of the 33 customers that XL featured were inactive and had

not placed an order since 2019; (3) that XL’s technology had been materially overstated and

offered only 5% to 10% of fleet savings; (4) that XL lacks the supply chain and engineers to roll

out new products on the announced timelines; and (5) that, as a result of the foregoing, Defendants’

positive statements about the Company’s business, operations, and prospects were materially

misleading and/or lacked a reasonable basis.

       7.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.




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                                   JURISDICTION AND VENUE

        8.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        9.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        10.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.

        11.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

        12.      Plaintiff Jeff Suh, as set forth in the accompanying certification, incorporated by

reference herein, purchased XL Fleet securities during the Class Period, and suffered damages as

a result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

        13.      Defendant XL Fleet is incorporated under the laws of Delaware with its principal

executive offices located in Boston, Massachusetts. XL Fleet’s common stock trades on the New

York Stock Exchange (“NYSE”) under the symbol “XL.”




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        14.     Defendant Thomas J. Hynes III (“Hynes”) is the founder of XL Hybrids. He served

as Chief Strategy Officer of XL Hybrids and has been the President of XL Fleet following the

Merger.

        15.     Defendant Dimitri Kazarinoff (“Kazarinoff”) was the Chief Executive Officer

(“CEO”) of XL Hybrids and became CEO of XL Fleet following the Merger.

        16.     Defendant Jonathan J. Ledecky (“Ledecky”) was the Chairman and CEO of Pivotal

at all relevant times.

        17.     Defendants Hynes, Kazarinoff, and Ledecky (collectively the “Individual

Defendants”), because of their positions with the Company, possessed the power and authority to

control the contents of the Company’s reports to the SEC, press releases and presentations to

securities analysts, money and portfolio managers and institutional investors, i.e., the market. The

Individual Defendants were provided with copies of the Company’s reports and press releases

alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and

opportunity to prevent their issuance or cause them to be corrected. Because of their positions and

access to material non-public information available to them, the Individual Defendants knew that

the adverse facts specified herein had not been disclosed to, and were being concealed from, the

public, and that the positive representations which were being made were then materially false

and/or misleading. The Individual Defendants are liable for the false statements pleaded herein.

                               SUBSTANTIVE ALLEGATIONS

                                           Background

        18.     XL Fleet provides vehicle electrification solutions for commercial and municipal

fleets in North America. It offers hybrid and plug-in hybrid electric drive systems.

        19.     XL Fleet formed via merger of XL Hybrids and Pivotal, which closed on or about

December 22, 2020. Pivotal was a special purpose acquisition company incorporated for the


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purpose of entering into a merger, share exchange, asset acquisition, share purchase,

recapitalization, reorganization or similar business combination with one or more businesses or

entities.

                               Materially False and Misleading
                          Statements Issued During the Class Period

        20.     The Class Period begins on October 2, 2020. On that day, Pivotal filed its

registration statement on Form S-4 seeking shareholder approval of the Merger (the “Registration

Statement”). Therein, Pivotal included the following financial information for XL Hybrids:




        21.     Regarding XL Hybrids’ customers, the Registration Statement stated, in relevant

part:

        XL relies on a limited number of customers for a large portion of its revenues,
        and the loss of one or more such customers could have a material adverse impact
        on its business, financial condition and results of operations.

        XL depends on a limited number of customers for a significant portion of its
        revenue. For the fiscal year ended December 31, 2019, XL had two customers that
        each accounted for over 10% of its revenue. In the aggregate, these customers
        accounted to 69% of XL’s revenue for the fiscal year ended December 31, 2019.
        The loss of one or more of these customers could have a significant impact on XL’s
        revenues and harm its business, results of operations and cash flows.

        22.     Regarding the development of new technology, the Registration Statement stated,

in relevant part:


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       XL may experience significant delays in the design, production and launch of its
       electrified powertrain solutions, which could harm its business, prospects,
       financial condition and operating results.

       Any delay in the financing, design, production and launch of XL’s electrified
       powertrain solutions could materially damage XL’s brand, business, prospects,
       financial condition and operating results. There are often delays in the design,
       production and commercial release of new products, and to the extent XL delays
       the launch of its electrified powertrain solutions, its growth prospects could be
       adversely affected as it may fail to grow its market share. XL integrates electrified
       solutions into original equipment manufacturer (“OEM”) vehicles, and if the OEM
       makes unexpected changes to the function of the vehicle, this could significantly
       delay the development and therefore launch of XL’s electrified powertrain
       solutions. XL will rely on upfitter partners to install XL’s electrified powertrain
       solution, and if they are not able to produce product at scale or meet XL’s
       specifications, XL may need to expand its production capabilities, which would
       cause XL to incur additional costs. Furthermore, XL relies on third-party suppliers
       for the provision and development of many of the key components and materials
       used in its electrified powertrain solutions, and to the extent they experience any
       delays, XL may need to seek alternative suppliers. If XL experiences delays by its
       suppliers, it could experience delays in delivering on its timelines.

       23.       Regarding XL Hybrids’ vehicle performance, the Registration Statement stated, in

relevant part:

       The performance characteristics of XL’s electrified powertrain solutions,
       including fuel economy and emissions levels, may vary, including due to factors
       outside of its control.

       The performance characteristics of XL’s electrified powertrain solutions may vary
       due to factors outside of its control. External factors that may impact the
       performance characteristics include fuel economy and emissions levels. For
       instance, the estimated fuel savings and fuel economy of vehicles installed with
       XL’s electrified powertrain solutions may vary depending on factors including, but
       not limited to, driver behavior, speed, terrain, hardware efficiency, payload, vehicle
       and weather conditions. In addition, GHG emissions of vehicles installed with XL’s
       electrified powertrain solutions may also vary due to external factors, including the
       type of fuel, driver behavior, the efficiency and certification of the engine and
       where the engine is being operated. Additionally, the total emissions generated is
       subject to how the electricity used to charge XL’s plug in products is generated,
       which is also outside of XL’s control. These external factors, as well as any
       operation of XL’s electrified powertrain solutions other than as intended, may result
       in emissions levels that are greater than XL expects. Due to these factors, there can
       be no guarantee that the operators of vehicles using XL’s electrified powertrain
       solutions will realize the expected fuel savings and fuel economy and GHG
       emission reductions.


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       24.     The Registration Statement further disclosed that there were certain material

weaknesses in XL Hybrids’ internal control over financial reporting. Specifically, it stated:

       In the course of preparing the financial statements that are included in this proxy
       statement/prospectus, XL has identified a number of adjustments to its financial
       statements that resulted in a restatement of previously issued financial statements.
       In addition, XL has identified material weaknesses in internal control over financial
       reporting, which relate to insufficient technical accounting resources and lack of
       segregation of duties.

       25.     On November 12, 2020, XL Fleet issued a press release announcing its third quarter

2020 financial results. The Company stated:

       XL Fleet (“XL” or the “Company”), a leader in vehicle electrification solutions for
       commercial and municipal fleets, today announced that its revenue for the third
       quarter of 2020 was the highest for a single quarter in the Company’s history.

       XL achieved record quarterly total GAAP revenue of $6.3 million for the third
       quarter of 2020. In comparison, XL achieved $2.6 million in revenue for the third
       quarter in 2019, and approximately $7.2 million in revenue for the full fiscal year
       ended December 31, 2019. The revenue increase was driven by continued product
       adoption across the Company’s portfolio, which is currently comprised of XL’s
       core hybrid and plug-in hybrid electric drivetrain business. The Company expanded
       margins that resulted in positive gross margins of 12.1% for the third quarter of
       2020, as compared to negative (3.7%) for the third quarter of 2019.

       Due to strong year-to-date results, XL remains on track to deliver on its full year
       2020 revenue forecast of approximately $21 million. XL continues to grow its sales
       opportunity pipeline for 2021 to $220 million as of today, which supports XL’s
       current revenue forecast of $75 million for fiscal year 2021.

       26.     On November 16, 2020, XL Fleet issued a press release entitled “XL Fleet Expands

XLP™ Plug-in Hybrid Electric Drive System For Use in Multiple GM Fleet Applications.”

Therein, the Company stated, in relevant part:

       XL Fleet (“XL” or the “Company”), a leader in vehicle electrification solutions for
       commercial and municipal fleets, has announced that the Company’s XLP™ plug-
       in hybrid electric drive technology is being expanded for use across a range of fleet
       vehicles from General Motors (NYSE: GM). The platform is expected to begin
       shipping on select configurations of the Chevrolet and GMC Silverado / Sierra 2500
       HD and 3500 HD pickup trucks in the first quarter of 2021, and on Chevrolet and
       GMC 3500 and 4500 cutaway chassis in the second quarter of 2021.



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       The Company’s newest product offering expands its growing lineup of plug-in
       hybrid electric drive systems, which can improve fuel economy by increasing miles
       per gallon by up to 50% and reducing CO2 emissions by approximately one-third
       compared to traditional gas-powered vehicles. It is also the Company’s first plug-
       in hybrid system to be available for Chevrolet and GMC fleet vehicles, adding to a
       broad range of XL hybrid systems currently available for GM products.

       27.     On November 23, 2020, XL Fleet issued a press release stating that it expected its

largest partner to double orders in 2021. Specifically, the Company stated, in relevant part:

       XL Fleet (“XL” or the “Company”), a leader in vehicle electrification solutions for
       commercial and municipal fleets, today announced that Farmbro Inc. (“Farmbro”),
       an Ontario-based upfitting solutions service provider specializing in commercial
       and work vehicles, expects to double its sales volume from approximately 1,000
       XL unit installations in 2020 to over 2,000 in 2021 to meet the increasing demand
       for fleet electrification in Canada. As part of its expanding partnership, XL Fleet is
       recognizing Farmbro as its Sales and Installation Partner of the Year for 2020.

       28.     On December 1, 2020, XL Fleet issued a press release announcing the launch of its

XL Grid Division with charging infrastructure solutions. The Company stated:

       XL Fleet (the “Company”), a leader in vehicle electrification solutions for
       commercial and municipal fleets, today announced that it has entered into a
       partnership with a commercial EVSE (electric vehicle supply equipment) supplier
       to begin the launch of its XL Grid division. XL Grid will provide charging
       infrastructure, energy storage and power solutions for electrified fleets. XL Fleet
       customers can now purchase XL Grid charging systems separately or as part of an
       order for vehicles with the Company’s electrified powertrain.

       XL Fleet currently has over 200 fleet customers across the U.S. and Canada and
       expects they will require at least 100,000 charging stations in the next several years
       based on their growing demand for electric vehicles. XL Fleet intends to continue
       expanding its XL Grid division to meet these energy demands. XL Grid will
       provide an innovative array of software, hardware and strategic partnerships to
       power a complete Electrification as a Service solution.

       29.     On December 8, 2020, the Registration Statement, as amended in response to the

SEC’s questions, was declared effective.

       30.     On December 16, 2020, XL Fleet issued a press release announcing the expansion

of its electrification solutions portfolio to meet “strong customer demand.” The Company stated:




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       XL Fleet (the “Company”), a leader in vehicle electrification solutions for
       commercial and municipal fleets, today announced that it has expanded its line of
       electrified powertrains to include a hybrid electric drive system for the Class 5 Ford
       F-550 Super Duty chassis. The new system was developed and brought to market
       within six months to meet a significant and growing commercial fleet demand for
       the electrified F-550 chassis, for applications including municipal transportation,
       utilities, construction equipment and customer service vehicles.

       The F-550 vehicles will be upfit with XL Fleet’s hybrid electric drive system and
       begin deliveries to customers by the end of 2020. Vehicles equipped with XL
       Fleet’s hybrid electric drive system have been proven to significantly improve fuel
       economy while reducing greenhouse gas emissions – a key aspect of meeting fleet
       sustainability goals.

       31.     The above statements identified in ¶¶ 20-30 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) that XL Fleet’s

salespeople were pressured to inflate their sales pipelines to boost the Company’s reported sales

and backlog; (2) that at least 18 of the 33 customers that XL featured were inactive and had not

placed an order since 2019; (3) that XL’s technology had been materially overstated and offered

only 5% to 10% of fleet savings; (4) that XL lacks the supply chain and engineers to roll out new

products on the announced timeline; and (5) that, as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects were materially misleading

and/or lacked a reasonable basis.

                           Disclosures at the End of the Class Period

       32.     On March 3, 2021, Muddy Waters published a report entitled “XL Fleet Corp.

(NYSE: XL): More SPAC Trash,” alleging, among other things, that salespeople “were pressured

to inflate their sales pipelines materially in order to mislead XL’s board and investors” and that

“customer reorder rates are in reality quite low” due to “poor performance and regulatory issues.”

Citing interviews with former employees, the report alleged that “at least 18 of 33 customers XL

featured were inactive.” The report stated, in relevant part:


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XL MANAGEMENT SYSTEMATICALLY INFLATES THE COMPANY’S
BACKLOG

XL claims a backlog of $220+ million. This number is key to XL’s sales
projections, appearing twice in XL’s SPAC slide deck. However, our conversations
with former employees suggest XL’s “pipeline” is a fiction created under pressure
from senior managers. We understand that the rot emanates from XL management,
who further embellished their employees’ already exaggerated pipeline entries.

                                 *      *       *

XL’S CLAIMED CUSTOMER BASE APPEARS GROSSLY OVERSTATED

Below is XL’s stated customer list, which includes 33 logos.1 Former employees
told us that many of these had not ordered vehicles for a long time. In a March 2,
2021 appearance on CNBC with Jim Cramer, XL CEO Tod Hynes deflected a
question about whether its customers include some of the names below.




                                 *      *       *

WE UNDERSTAND FROM FORMER EMPLOYEES THAT AT LEAST 18 OF
33 CUSTOMERS XL FEATURED WERE INACTIVE

The list shrinks by over half after removing reportedly inactive customers:




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                                         *      *       *

        NUMEROUS XL CUSTOMERS REPORTEDLY HAVE NOT REORDERED
        DUE TO POOR PERFORMANCE AND REGULATORY ISSUES

        We believe that XL’s high customer attrition rate stems from XL’s lack of
        engineering edge, its misleading efficiency claims, and its substantial issues with
        regulatory approval. [footnote omitted]

        “Almost no one reorders… it’s maybe 10%. To get your order in the first place, it’s
        a months and months wait, you’re angry, and then the thing doesn’t work as
        promised. ‘6% improvement for $15,000? We’re not going to buy any more of these
        things.’” – Former XL Employee A

(Emphasis in original.)

        33.     Muddy Waters also alleged that while XL “claims that its technologies leads to

25%+ MPG gains,” in reality “fleet savings are generally only 5% to 10%, and are sometimes

negative.” Specifically, it stated:

        XL SEEMINGLY DOES NOT ACHIEVE STATED MPG GAINS OR
        GENERATE CLAIMED ROIs FOR CUSTOMERS

        There are two elements to XL’s misrepresentations to its customers – exaggerated
        mileage gains and aggressive ROI modeling assumptions. Based on our
        conversations with former XL employees, we conclude that the company’s
        technology seldom – if ever – generates the advertised 25-50% fuel savings. We
        estimate the savings is really only 5% - 10%. Three former employees told us that
        they were instructed to cherry-pick customer information from XL’s quarterly
        performance reports in order to exaggerate the technology’s effectiveness, while
        blaming inadequate MPG savings on the customers’ drivers. Similar to the fuel
        efficiency exaggeration, XL appears to routinely pad ROI calculations to
        prospective customers. We believe that XL inflates ROIs primarily by using


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unrealistically high gas prices and vehicle service life. We believe that the actual
ROI XL’s customers generate on average is NEGATIVE.

                                  *       *       *

WE UNDERSTAND THAT FLEET-WIDE SAVINGS ARE GENERALLY
ONLY 5% to 10%, AND ARE SOMETIMES NEGATIVE

Reality seems to fall well short of what XL claims. We understand that fleets
generally received only 5- 10% MPG efficiency gains and negative ROI.

“Their numbers are based upon a bare-boned F-150 on a dyno [dynamometer] in
optimal, optimal circumstances, but the second you add weight or a passenger or
human error to that, it all goes out the window.” – Former XL Employee A

“The things that it doesn’t cover is climbing hills; the simulation is all flat… Every
time you take a turn, you’re expending energy to make that turn. Those are real-
world situations it doesn’t simulate.” – Former XL Employee F

“If you were in the exact drive cycle that was optimal for those vehicles, a city drive
cycle with very much stop and go and little idling, you did get 25%. But that drive
cycle was applicable to probably 15% of vehicles that they installed systems on. If
you were purchasing a system and weren’t in that city drive cycle, your savings
were … Probably between 5 - 10%... definitely not 25%.” – Former XL Employee
I

“It’s like a Formula One circuit; you’re cornering these turns and trying to optimize
the levels of throttle and brake. You try to make sure during your throttle up that
you take as much power from the hybrid battery pack as possible. You start this
drive when a full battery… A lot of the parameters don’t really match what you’d
see in a real road scenario.” – Former XL Employee G

XL’S PLUG-IN HYBRID ALSO SIGNIFICANTLY UNDERPERFORMS XL’S
EFFICIENCY CLAIMS

XL’s underperformance applies not only to its conventional hybrid product, but
extends to its newer plugin hybrid as well.

“The [plug-in hybrid] ones they did have out, they claimed a 50% increase in miles
per gallon, the most any of them got were 35-40%.... average was 25-35%.” –
Former XL Employee B

“Never would you come across 50% on the plug-in… The 50%, it’s insane that it’s
advertised… You might see a decrease in MPG because you’re adding 800 pounds
of batteries to the back of an F-150 and expecting it to achieve performance.” –
Former XL Employee A

XL CHERRY-PICKED DATA AND BLAMED MPG MISSES ON DRIVERS


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        We found that XL encouraged its employees to present a highly manipulated set of
        metrics to customers to demonstrate MPG savings; or, barring that, XL employees
        blamed fleet drivers for not understanding the technology.

        “I gave dozens of… presentations to fleet managers, generated out of XL Link, the
        onboard telematics system in each vehicle with XL technology. What this report
        indicates, is either no improvement in MPG, slight improvement in MPG, or a loss
        of overall MPG. Keep in mind these kits are $25,000 each, add 750 lbs of curb
        weight, and take up very valuable bed space, and advertise up to 50% improvement.
        I would highlight their drivers’ errors, such as idle time, driving over the ideal
        speed, and aggressive acceleration habits, just to assign blame elsewhere for no
        improvement in MPG. I would also falsify their fuel cost per gallon, behind what's
        visible to the customer, to try and prove some ROI.” — XL Former Employee A

         “My customers that had the system wanted access to XL Link. But… salespeople
        had to give them presentations because they tried to pretty it up to avoid, "Hey,
        you're only getting another mile per gallon and it's not what we promised." They
        would never let the customer have access to the raw data on that: we had to put it
        into a presentation to give to them.” — Former XL Employee B

(Emphases in original.)

        34.     Muddy Waters also claimed that XL has “weak technology” and that “XL’s

announcement of future class 7-8 upfits seems highly promotional” because the task is “too

technologically complex for XL engineers to deliver on the promised timeline.” Specifically, the

report stated, in relevant part:

        XL LACKS THE SUPPLY CHAIN AND PROPRIETARY TECHNOLOGY FOR
        EFFECTIVE FULL ELECTRIFICATION

        Since XL has outsourced the manufacturing of almost all its components, this
        seemingly makes it substantially more difficult for it to design full-EV upfits, which
        are more complicated and costly.

        “XL was not vertically integrated at all, most everything was outsourced, so, it'd be
        very difficult for me to see them having the core competencies to develop a full
        EV… It’s not like XL is going to crack the code on that; many have tried and few
        have succeeded. I am very bearish on their ability to do that.” — Former XL
        Employee D

        “I think any company of that kind of size that’s not building full vehicles would have
        a hard time competing with Ford… if they had experience like Tesla did or
        something, that would be a different story.” – Former XL Employee F




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“There’s a lot of people making those moves [into EV] right now. There’s some
pretty fierce competition that will lead to some interesting tech. As an installer, I
think that’s good. Does XL have something of true value, a patent on something? I
can say, probably not… I don’t see a meaningful reason why XL will be around in
ten years. But in the meantime, they’re there and I use them.” – Current XL Upfitter

“One of their main flaws is the way the systems are assembled—they have all these
parts they handassemble at a small facility in Illinois… It’s cute when Harvard is
in your backyard and you want to deliver them a van, but the process they have
right now is not scalable.” — Former XL Employee C

                                    *       *       *

XL’S ANNOUNCEMENT OF FUTURE CLASS 7-8 UPFITS SEEMS HIGHLY
PROMOTIONAL

In its revenue projections, which we view as extremely aggressive, XL has stated
it intends to create hybrid and EV upfits for vehicles that are much heavier than the
ones it has historically serviced. This is a task that former employees described
flatly as too technologically complex for XL engineers to deliver on the promised
timeline, which starts as soon as late 2021:

“You need a large enough electric motor to help propel that vehicle, and for that,
you need a larger battery. Soon enough, the battery becomes heavier than the
vehicle… They really lose it in those plug-in pickup trucks. It works okay for the
[Ford] Transits because they’re lightweight anyway, but once you start getting to
your pickup trucks, any weight past the stock factory body, your numbers go to
shit.” – Former XL Employee A

“Electrification does get more difficult the larger the vehicle. It's not that the ability
isn't there, because the EV possesses a lot of torque, providing the ability to get the
weight moving. It's the amount of energy that is required to move that much weight.
That is why companies like Nikola are looking at hydrogen fuel cell technology
over straight electric.” – Former XL Employee B

“Electrification of semis is not a good choice today because you need a huge battery
with 600-800 kWh, which even at very, very low prices is approximately 100-150%
of the base cost of a Class 8 truck.” – EV Industry Employee

XL’S EV/HYBRID GARBAGE TRUCK APPEARS TO BE A DISTRACTION
WITH LIMITED POTENTIAL

Despite the severe limitations of the XL platform, XL has announced it intends to
make hybrid and EV garbage trucks. We believe this announcement is promotional
rather than promising, since refuse trucks are some of the least suitable vehicles to
EV-upfit due to their immense weight and highly variable route lengths. [footnote
omitted]



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       “For garbage trucks, it will never work with the path they have to take and the
       payload they take… Refuse trucks are built for payload, because they want the truck
       to run as long as possible because of transfer station cost, mileage, etc. This means
       a truck with the same payload capacity has very different travel distances based on
       how long a route needs to be prior to full payload capacity... Refuse trucks have a
       lot more bells and whistles that will need electricity / power at all times, not just
       when the vehicle is moving. They include hydraulic systems, internal PLCs and
       controls, safety / camera equipment, etc.” – Former XL Employee G

       “I think they’re probably trying to find a niche. School buses are done [by
       competitors]. Box trucks are done.” – Former XL Employee A

       35.     On this news, the Company’s share price fell $2.09, or 13%, to close at $13.86 per

share on March 3, 2021, on unusually heavy trading volume. The share price continued to decline

by $2.69, or 19.4%, over two consecutive trading sessions to close at $11.17 per share on March

5, 2021, on unusually heavy trading volume.

                               CLASS ACTION ALLEGATIONS

       36.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired XL Fleet securities between October 2, 2020 and March 2, 2021, inclusive,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

       37.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, XL Fleet’s shares actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

thousands of members in the proposed Class. Millions of XL Fleet shares were traded publicly

during the Class Period on the NYSE. Record owners and other members of the Class may be


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identified from records maintained by XL Fleet or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        38.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        39.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

        40.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of XL Fleet; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        41.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.




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                              UNDISCLOSED ADVERSE FACTS

       42.     The market for XL Fleet’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, XL Fleet’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired XL Fleet’s securities

relying upon the integrity of the market price of the Company’s securities and market information

relating to XL Fleet, and have been damaged thereby.

       43.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of XL Fleet’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about XL Fleet’s business, operations, and prospects as alleged herein.

       44.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about XL Fleet’s financial well-being and prospects. These material misstatements

and/or omissions had the cause and effect of creating in the market an unrealistically positive

assessment of the Company and its financial well-being and prospects, thus causing the

Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

members of the Class purchasing the Company’s securities at artificially inflated prices, thus

causing the damages complained of herein when the truth was revealed.


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                                        LOSS CAUSATION

        45.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

        46.     During the Class Period, Plaintiff and the Class purchased XL Fleet’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                   SCIENTER ALLEGATIONS

        47.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding XL Fleet, their control over, and/or

receipt and/or modification of XL Fleet’s allegedly materially misleading misstatements and/or

their associations with the Company which made them privy to confidential proprietary

information concerning XL Fleet, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

        48.     The market for XL Fleet’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, XL Fleet’s securities traded at artificially inflated prices during the Class Period. On



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December 23, 2020, the Company’s share price closed at a Class Period high of $32.59 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of XL Fleet’s securities and market information

relating to XL Fleet, and have been damaged thereby.

       49.     During the Class Period, the artificial inflation of XL Fleet’s shares was caused by

the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about XL Fleet’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of XL Fleet and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted

in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       50.     At all relevant times, the market for XL Fleet’s securities was an efficient market

for the following reasons, among others:

               (a)     XL Fleet shares met the requirements for listing, and was listed and actively

traded on the NYSE, a highly efficient and automated market;

               (b)     As a regulated issuer, XL Fleet filed periodic public reports with the SEC

and/or the NYSE;

               (c)     XL Fleet regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on




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the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     XL Fleet was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       51.     As a result of the foregoing, the market for XL Fleet’s securities promptly digested

current information regarding XL Fleet from all publicly available sources and reflected such

information in XL Fleet’s share price. Under these circumstances, all purchasers of XL Fleet’s

securities during the Class Period suffered similar injury through their purchase of XL Fleet’s

securities at artificially inflated prices and a presumption of reliance applies.

       52.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       53.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.


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The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of XL

Fleet who knew that the statement was false when made.

                                          FIRST CLAIM

                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        54.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        55.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase XL Fleet’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        56.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the


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statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for XL Fleet’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       57.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about XL Fleet’s financial

well-being and prospects, as specified herein.

       58.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of XL Fleet’s value and performance

and continued substantial growth, which included the making of, or the participation in the making

of, untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about XL Fleet and its business operations and future prospects in light

of the circumstances under which they were made, not misleading, as set forth more particularly

herein, and engaged in transactions, practices and a course of business which operated as a fraud

and deceit upon the purchasers of the Company’s securities during the Class Period.

       59.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the




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creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       60.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing XL Fleet’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       61.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of XL

Fleet’s securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of the




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market in which the securities trades, and/or in the absence of material adverse information that

was known to or recklessly disregarded by Defendants, but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired XL

Fleet’s securities during the Class Period at artificially high prices and were damaged thereby.

        62.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that XL Fleet was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their XL Fleet securities,

or, if they had acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.

        63.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        64.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                         SECOND CLAIM

                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        65.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        66.     Individual Defendants acted as controlling persons of XL Fleet within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

their ownership and contractual rights, participation in, and/or awareness of the Company’s



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operations and intimate knowledge of the false financial statements filed by the Company with the

SEC and disseminated to the investing public, Individual Defendants had the power to influence

and control and did influence and control, directly or indirectly, the decision-making of the

Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. Individual Defendants were provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements

alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be corrected.

        67.    In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        68.    As set forth above, XL Fleet and Individual Defendants each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;




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       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: March 8, 2021                          By: /s/ Gregory B. Linkh
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                                              Attorneys for Plaintiff Jeff Suh




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                       SWORN CERTIFICATION OF PLAINTIFF


      XL Fleet Corp., SECURITIES LITIGATION

I,                                               , certify:

      1.   I have reviewed the complaint and authorized its filing and/or adopted its allegations.

      2.   I did not purchase XL Fleet Corp., the security that is the subject of this action at the
           direction of plaintiff’s counsel or in order to participate in any private action arising
           under this title.

      3.   I am willing to serve as a representative party on behalf of a class and will testify at
           deposition and trial, if necessary.

      4.   My transactions in XL Fleet Corp., during the class period set forth in the Complaint
           are as follows:

              See Attached Transactions

      5.   I have not served as a representative party on behalf of a class under this title during
           the last three years except as stated:

      6.   I will not accept any payment for serving as a representative party, except to receive
           my pro rata share of any recovery or as ordered or approved by the court including
           the award to a representative plaintiff of reasonable costs and expenses (including
           lost wages) directly relating to the representation of the class.

                 ⁭ Check here if you are a current employee or former employee of the
              defendant Company.

              I declare under penalty of perjury that the foregoing are true and correct
              statements.



Dated: ________________                   ____________________________________________
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            Jeff Suh's Transactions in XL Fleet Corp. (XL)
       Date       Transaction Type      Quantity       Unit Price
       1/4/2021        Bought                   500          $22.25
       1/4/2021        Bought                   300          $20.22
      2/24/2021        Bought                   800          $14.77
